Case 2:16-cv-01444-JRG-RSP Document 20 Filed 03/27/17 Page 1 of 1 PageID #: 71




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES           §
INNOVATIONS, LLC,                      §
                                       §
  Plaintiff,                           §                    Case No: 2:16-cv-1444-JRG-RSP
                                       §
 vs.                                   §
                                       §                    LEAD CASE
 GOPRO, INC,                           §
                                       §
 Defendant.                            §
 _____________________________________ §
 ROTHSCHILD CONNECTED DEVICES          §
 INNOVATIONS, LLC,                     §
                                       §
  Plaintiff,                           §                    Case No: 2:16-cv-1446-JRG-RSP
                                       §
 vs.                                   §                    CONSOLIDATED CASE
                                       §
.WHIRPOOL CORPORATION,                 §
                                       §
             Defendant.                §
 ____________________________________ §

                        ORDER OF DISMISSAL WITH PREJUDICE

       On this date, the Court considered Plaintiff Rothschild Connected Devices Innovations,

LLC’s motion to dismiss with prejudice Defendant Whirlpool Corporation pursuant to Fed. R. Civ.

P. 41(a).

       Therefore, IT IS ORDERED that Plaintiff’s claims against Defendant are dismissed

with prejudice and with each party to bear its own attorneys’ fees and costs.
        SIGNED this 3rd day of January, 2012.
        SIGNED this 25th day of March, 2017.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE
